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Attorneys for Plaintiff Jensen Jewelers of Idaho, LLC


                             IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF IDAHO


JENSEN JEWELERS OF IDAHO, LLC, a                      )
Delaware limited liability company,                   )
                                                      )       Case No. ___________________
                Plaintiff,                            )
                                                      )
v.                                                    )       COMPLAINT AND DEMAND
                                                      )       FOR JURY TRIAL
ZALE DELAWARE, INC., a Delaware                       )
corporation; DOES 1 – 10, inclusive,                  )
                                                      )
                Defendants.                           )
                                                      )

       COMES NOW Plaintiff Jensen Jewelers of Idaho, LLC, a Delaware limited liability

company (“Jensen Jewelers”), by and through its attorneys of record, Brandon T. Berrett and

Brooke B. Redmond of the law firm Wright Brothers Law Office, PLLC, as and for a Complaint

and Demand for Jury Trial against Zale Delaware, Inc., a Delaware corporation (“Zale

Delaware”) and Does 1 – 10 (“Does,” and together with Zale Delaware, Zale Corp., and Signet,

the “Defendants”), hereby pleads and alleges as follows:

                                     I.      JURISDICTION

       1.       This is an action for unfair competition and false designation of origin in violation



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of 15 U.S.C. §1125(a); common law trademark infringement; and common law unfair

competition.

        2.       This court has subject-matter jurisdiction over the unfair competition and false

designation of origin claims under 15 U.S.C. §1121 and 28 U.S.C. §1331.

        3.       This court has subject-matter jurisdiction over the state-law claims under 28

U.S.C. §1338 and 28 U.S.C. §1367.

        4.       On information and belief, this court has personal jurisdiction over Defendants

pursuant to F.R.C.P. 4(k)(1)(A) and Idaho Code § 5-514(a) and (b), and because they have

contacts with and conduct business within the state of Idaho. Zale Delaware is registered with

the Idaho Secretary of State to do business in the state of Idaho and has appointed a registered

agent for service of process in the State of Idaho. Defendants further operate retail stores, and

otherwise offer products that directly compete with Jensen Jewelers, in the state of Idaho and

have improperly utilized Jensen Jewelers’ name and/or trademark in advertising directed at the

state of Idaho, causing tortious injury to Jensen Jewelers in the state of Idaho.

                                           II.     VENUE

        5.       Venue is proper in this court pursuant to 28 U.S.C. § 1391 in that either (i) a

substantial part of the events or omissions giving rise to the claim occurred in this district; or (ii)

there is no district in which an action may otherwise be brought and the Defendants are subject

to personal jurisdiction with regard to this action.

                                          III.    PARTIES

        6.       Jensen Jewelers is a Delaware limited liability company with its principal place of

business in Twin Falls, Idaho.

        7.       Upon information and belief, Zale Delaware is a Delaware corporation with its




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principal place of business in Akron, Ohio.

       8.       Upon information and belief, DOES 1 through 10, inclusive, are parents, affiliates

and subsidiaries or agents through which Defendants improperly utilized Jensen Jewelers’ name

and/or trademark.

                                 IV.    CLAIMS FOR RELIEF

                                       General Allegations

       9.       Jensen Jewelers operates retail jewelry stores and provides goldsmith services in

locations throughout the states of Idaho, Montana, Nevada, and Wyoming.

       10.      Jensen Jewelers also sells jewelry through its website, jensen-jewelers.com.

       11.      Jensen Jewelers has continually operated under and otherwise used the name

“Jensen Jewelers” since its founding in or about 1956.

       12.      Jensen Jewelers has devoted substantial time, effort, and resources to develop and

promote its name, brand, and services throughout the states of Idaho, Montana, Nevada, and

Wyoming since its founding in or about 1956.

       13.      Due to Jensen Jewelers’ efforts, the name “Jensen Jewelers” enjoys recognition

and notoriety, and has developed substantial goodwill, in states of Idaho, Montana, Nevada, and

Wyoming.

       14.      Defendants operate retail jewelry stores and provide goldsmith services in

locations throughout the United States, including in the states of Idaho, Montana, Nevada, and

Wyoming, and through various websites, including without limitation zales.com.

       15.      Defendants have directly and deceptively misappropriated and used Jensen

Jewelers’ name and mark in advertising campaigns to trade off of its goodwill.

       16.      Upon information and belief, during the week of the “Black Friday” shopping




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season in November 2016, Defendants used Google AdWords to place a sponsored search result

and advertisement displaying the heading (in large, colored font) “Jensen Jewelers – Black

Friday 35% Off Storewide – zales.com” with a hyperlink to Defendants’ zales.com. A true and

correct copy of the sponsored search result and advertisement is attached hereto as Exhibit A.

       17.     Upon information and belief, Defendants used Jensen Jewelers’ mark in a manner

prominently featuring such mark vis-à-vis other marks in the advertisement, and arranged for the

advertisement to display at the top of the list of search results generated when persons searched

the term “Jensen Jewelers” at Google.com.

       18.     Upon information and belief, Defendants’ infringing sponsored search result and

advertisement was displayed throughout the United States.

                                         COUNT ONE

          Unfair Competition and False Designation of Origin (15 U.S.C. §1125(a))

       19.     Jensen Jewelers hereby incorporates and re-alleges each of the prior allegations of

this Complaint and Demand for Jury Trial, as if fully set forth herein.

       20.     Defendants used Jensen Jewelers’ name and mark in interstate commerce to

advertise, promote, market, and offer for sale the types of goods and services marketed by Jensen

Jewelers without authorization from Jensen Jewelers.

       21.     The nature of Defendants’ advertisement using Jensen Jewelers’ name and mark

was created and employed in a manner falsely representing goods marked by Defendants as

originating from, or being sponsored by, Jensen Jewelers.

       22.     The nature of Defendants’ advertisement using Jensen Jewelers’ name and mark

was created and employed in a manner falsely representing that Jensen Jewelers was affiliated,

connected, or associated with Defendants.




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       23.     Defendants’ advertisement using Jensen Jewelers’ name and mark was likely to

cause confusion, or to cause mistake, or to deceive as to the affiliation, connection, or association

of Defendants with Jensen Jewelers, or as to the origin, sponsorship, or approval of Defendants’

goods, services, or commercial activities with respect to Jensen Jewelers.

       24.     As a direct and proximate result of Defendants’ above-described actions, Jensen

Jewelers has been damaged by Defendants, and Defendants have and will continue to unfairly

acquire income, profits, and goodwill. Jensen Jewelers is entitled to the amount that it was

damaged by Defendants’ actions, disgorgement of Defendants’ profits, and costs of this action.

Such amounts will be shown by the evidence at trial.

       25.     Defendants’ unauthorized use of Jensen Jewelers’ name and mark were deliberate

and willful, with the intent to cause confusion, mistake, or deception. Accordingly, this action is

an exceptional case entitling Jensen Jewelers to an award of attorney fees for bringing this action

pursuant to 15 U.S.C. §1117. In the event of default, a reasonable attorney fee is $5,000.00.

                                          COUNT TWO

                            Common Law Trademark Infringement

       26.     Jensen Jewelers hereby incorporates and re-alleges each of the prior allegations of

this Complaint and Demand for Jury Trial, as if fully set forth herein.

       27.     Jensen Jewelers and Defendants provide similar goods and services, and are direct

competitors in the jewelry marketplace.

       28.     Defendants used Jensen Jewelers’ name and mark in commerce to advertise,

promote, market, and offer for sale the types of goods and services provided by Jensen Jewelers

without authorization from Jensen Jewelers.

       29.     Defendants’ use of Jensen Jewelers’ name and mark was likely to cause confusion




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or deception and harm Jensen Jewelers’ business and/or goodwill.

       30.     Defendants’ unauthorized use of Jensen Jewelers’ name and mark was deliberate

and willful, with the intent to cause confusion, mistake, or deception.

       31.     As a direct and proximate result of Defendants’ above-described actions, Jensen

Jewelers has been damaged by Defendants, and Defendants have and will continue to unfairly

acquire income, profits, and goodwill. Jensen Jewelers is entitled to the amount that it was

damaged by Defendants’ actions, disgorgement of Defendants’ profits, and costs of this action.

Such amounts will be shown by the evidence at trial.

       32.     Jensen Jewelers is entitled to recover reasonable costs and attorney fees for

bringing this action pursuant to Idaho Law, including Idaho Code §§ 12-120 and 12-121. In the

event of default, a reasonable attorney fee is $5,000.00.

                                        COUNT THREE

                               Common Law Unfair Competition

       33.     Jensen Jewelers hereby incorporates and re-alleges each of the prior allegations of

this Complaint and Demand for Jury Trial, as if fully set forth herein.

       34.     Defendants used Jensen Jewelers’ name and mark in commerce to advertise,

promote, market, and offer for sale the types of goods and services provided by Jensen Jewelers

without authorization from Jensen Jewelers.

       35.     Defendants’ use of Jensen Jewelers’ name and mark was for no reason other than

to trade upon the goodwill of Jensen Jewelers, and was intended and likely to cause confusion or

deception and harm Jensen Jewelers’ business and/or goodwill.

       36.     Defendants’ unauthorized use of Jensen Jewelers’ name and mark was done in a

manner such that deception was the natural and probable result of Defendants’ actions.




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         37.    Defendants’ unauthorized use of Jensen Jewelers’ name and mark was deliberate

and willful, with the intent to cause confusion, mistake, or deception.

         38.    As a direct and proximate result of Defendants’ above-described actions,

Defendants have and will continue to unfairly acquire income, profits, and goodwill. Jensen

Jewelers is entitled to the amount that it was damaged by Defendants’ actions, disgorgement of

Defendants’ profits, and costs of this action. Such amounts will be shown by the evidence at

trial.

         39.    Jensen Jewelers is entitled to recover reasonable costs and attorney fees for

bringing this action pursuant to Idaho Law, including Idaho Code §§ 12-120 and 12-121. In the

event of default, a reasonable attorney fee is $5,000.00.

                                          COUNT FOUR

                                       Unjust Enrichment

         40.    Jensen Jewelers hereby incorporates and re-alleges each of the prior allegations of

this Complaint and Demand for Jury Trial, as if fully set forth herein.

         41.    Defendants’ use of Jensen Jewelers’ name, mark, and/or goodwill to advertise,

promote, market, and offer for sale jewelry provided a benefit to Defendants.

         42.    Defendants’ accepted and benefited from the use of Jensen Jewelers’ name, mark,

and/or goodwill

         43.    Under the circumstances, including that Defendants’ deliberately used Jensen

Jewelers’ name, mark, and/or goodwill without authorized by Jensen Jewelers, it would be unjust

for Defendants to retain the benefits of such use without compensating Jensen Jewelers for the

benefits Defendants’ received therefrom.

          44.   Jensen Jewelers is entitled to the amount that Defendants’ were unjustly enriched,




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which amounts will be shown by the evidence at trial.

         45.      Jensen Jewelers is entitled to recover reasonable costs and attorney fees for

bringing this action pursuant to Idaho Law, including Idaho Code §§ 12-120 and 12-121. In the

event of default, a reasonable attorney fee is $5,000.00.

                                V.      DEMAND FOR JURY TRIAL

         46.      Jensen Jewelers hereby incorporates and re-alleges each of the prior allegations of

this Complaint and Demand for Jury Trial, as if fully set forth herein.

         47.      Pursuant to F.R.C.P. 38, Jensen Jewelers hereby demands a trial by jury on each

and every issue so triable, and each party hereto is hereby notified of the same.

                                       PRAYER FOR RELIEF

         WHEREFORE, Jensen Jewelers respectfully prays for judgment against Defendants as

follows:

         1.       For damages in the amount that it was damaged by Defendants’ actions, and/or

disgorgement of Defendants’ profits resulting from their unlawful activity;

         2.       For the amount Defendants were unjustly enriched in an amount to be proven at

trial;

         3.       That Defendants any of their parents, subsidiaries, affiliates, officers, directors,

employees, agents and successors be permanently enjoined from using Jensen Jewelers’ name or

mark in connection with the marketing, promotion, advertising, sale or distribution of jewelry or

goldsmith services.

         4.       For reasonable attorney fees and costs incurred in pursuing this claim pursuant to

15 U.S.C. §1117 and Idaho Code §§ 12-120 and 12-121. In the event of default, a reasonable

attorney fee is $5,000.00; and




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    5.       For such other and further relief as the Court may deem just and proper.



    DATED this 17th day of January, 2018.

                                   WRIGHT BROTHERS LAW OFFICE, PLLC



                                   By:   /s/ Brandon T. Berrett
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                               Exhibit A




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